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                 IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE

In re:                                                 Chapter 11

ENERGY FUTURE HOLDINGS CORP., et al.,                  Case No. 14-10979(CSS)
                                                       (Jointly Administered)
                     Debtors.


                             CERTIFICATE OF SERVICE

         I, Kurt F. Gwynne, Esquire, do hereby certify that, on May 8, 2014, I caused a

true and correct copy of the ENTRY OF APPEARANCE AND REQUEST FOR

NOTICES OF THE BANK OF NEW YORK MELLON, AS INDENTURE

TRUSTEE, AND THE BANK OF NEW YORK MELLON TRUST COMPANY,

N.A., AS INDENTURE TRUSTEE, PURSUANT TO FED.R.BANKR.P. 2002 AND

9010 AND DEL.BANKR.L.R. 2002-1(d) to be served upon the addressees on the

attached service list in the manners indicated.

                                              By:    /s/ Kurt F. Gwynne
                                                     Kurt F. Gwynne (No. 3951)
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                                  SERVICE LIST


VIA HAND DELIVERY                         VIA HAND DELIVERY
Mark D. Collins                           Richard L. Schepacarter
Richards, Layton & Finger, P.A.           Office of the United States Trustee
One Rodney Square                         U. S. Department of Justice
920 North King Street                     844 King Street, Suite 2207
Wilmington, DE 19801                      Lockbox #35
                                          Wilmington, DE 19801
VIA REGULAR MAIL
Richard M. Cieri                          VIA REGULAR MAIL
Edward O. Sassower, P.C.                  James H.M. Sprayregen, P.C.
Stephen E. Hessler                        Chad J. Husnick
Brian E. Schartz                          Steven N. Serajeddini
Kirkland & Ellis, LLP                     Kirkland & Ellis, LLP
601 Lexington Avenue                      300 North LaSalle
New York, NY 10022                        Chicago, IL 60654
